                            EXHIBIT M




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  R. Brandon Bundren
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                                                         October 30, 2023

  VIA EMAIL

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            Re:       Johnny M. Hunt v. Southern Baptist Convention et al., C.A. No. 3:23-cv-00243;
                      United States District Court for the Middle District of Tennessee

  Counsel for Plaintiff:

          Please provide available deposition dates for the depositions of Johnny Hunt and Janet
  Hunt. We intend to take these depositions the first part of December in Nashville. We can host
  these depositions at our office. We hope we can select mutually convenient dates for all parties but
  reserve our right to notice the depositions unilaterally if we do not timely receive dates from your
  office for these individuals.


                                                                Sincerely,

                                                                BRADLEY ARANT BOULT CUMMINGS LLP


                                                                By:
                                                                        R. Brandon
                                                                               d Bundren
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